Case 2:11-cv-00041-JAW Document 19 Filed 07/12/11 Page 1 of 1                       PageID #: 55



                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

KRISTINA SPAULDING and                               )
DAVIS SPAULDING,                                     )
                                                     )
       Plaintiffs                                    )
                                                     )
v.                                                   )       Case 2:11-CV-00041-JAW
                                                     )
DANIEL BARTH and DOLLAR THRIFTY                      )
AUTOMOTIVE GROUP, INC.,                              )
                                                     )
       Defendants                                    )



                               STIPULATION OF DISMISSAL

       The parties to this action, by and through counsel, hereby stipulate to the dismissal of this

action with prejudice and without costs to any party pursuant to the Rule 41(a)(1)(ii) of the

Federal Rules of Civil Procedure.



Dated: July 12, 2011                                 /s/ Lauri Boxer-Macomber, Esquire
                                                     Laurie Boxer-Macomber
                                                     R. Terrance Duddy
                                                     Kelly, Remmel & Zimmerman
                                                     53 Exchange Street
                                                     P.O. Box 597
                                                     Portland, Maine 04112
                                                     Attorneys for Plaintiffs


Dated: July 12, 2011                                 /s/ Karen Frink Wolf, Esquire
                                                     Karen Frink Wolf
                                                     Jonathan M. Dunitz
                                                     Friedman Gaythwaite Wolf Leavitt
                                                     25 Pearl Street
                                                     P.O. Box 4726
                                                     Portland, Maine 04102
                                                     Attorneys for Defendants



                                                 1
